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           14                       UNITED STATES DISTRICT COURT
           15             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  MEMORANDUM IN SUPPORT OF
           18       a Delaware corporation,                       APPLE’S MOTION TO STRIKE
                                                                  PLAINTIFFS’ PURPORTED RULE
           19                          Plaintiffs,                26(A)(2)(C) DISCLOSURES
           20             v.
                                                                  Date: November 21, 2022
           21       APPLE INC.,                                   Time: 1:30pm
                    a California corporation,                     Expert Discovery Cut-Off: Dec. 12, 2022
           22                                                     Pre-Trial Conference: Mar. 13, 2023
                                       Defendant.
           23                                                     Trial: Mar. 27, 2023
           24
                                           REDACTED VERSION OF
           25                     DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           26
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             1                                      I.    INTRODUCTION
             2            While Plaintiffs assert that their trade secret claims are worth billions of dollars,
             3      the record created during fact discovery left them with no credible basis to advance such
             4      a theory. In an attempt to create evidence where none exists, they have served “expert
             5      disclosures” under Federal Rule of Civil Procedure 26(a)(2)(C) for four of their
             6      employees—Richard Priddell, Bilal Muhsin, Joe Kiani, and Mohamed Diab.
             7            These disclosures are improper for two reasons. First, each of these “disclosures”
             8      include information that goes beyond each individual’s percipient knowledge as an
             9      employee and is therefore beyond the scope of FRCP 26(a)(2)(C). For example, both
           10       Mr. Priddell’s and Mr. Muhsin’s disclosures
           11
           12                                                   Mr. Kiani speculates about
           13                                        , and Mr. Diab expressly relies
           14
           15                                                         Although the simplest course is simply
           16       to strike the motions for violating FRCP 26, Apple reserves the right to raise a future
           17       challenge to all four “experts” under Federal Rule of Evidence 702—at least because
           18       “speculative testimony is inherently unreliable.” Ollier v. Sweetwater Union High Sch.
           19       Dist., 768 F.3d at 843, 861 (9th Cir. 2014); accord Daubert v. Merrell Dow Pharms.,
           20       Inc., 509 U.S. 579, 590 (1993) (expert testimony must be “more than subjective belief
           21       or unsupported speculation”).
           22             Second, each disclosure is also improper under FRCP 26(e), as they all rely on
           23       new “facts” that should have been disclosed before fact discovery ended on August 12,
           24       2022. For example, Mr. Muhsin’s and Mr. Priddell’s disclosures cite information
           25       regarding
           26                                                         , while Mr. Kiani and Mr. Diab provide
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             1      information regarding
             2
             3            Plaintiffs cannot meet their burden under FRCP 37(c) to establish that these clear
             4      violations of the Federal Rules are substantially justified or harmless. Plaintiffs’
             5      strategic decision to file FRCP 26(a)(2)(C) disclosures using belatedly disclosed
             6      information is highly prejudicial, at a minimum because Plaintiffs’ damages expert has
             7      used the disclosures’ speculation as
             8
             9      Plaintiffs’ FRCP violations have also hampered Apple’s ability to prepare responsive
           10       expert reports and deprived Apple of a full and fair opportunity to depose all four
           11       individuals during fact discovery.       This prejudice has only been made worse by
           12       Plaintiffs’ gamesmanship. For example, Plaintiffs had long represented that Mr. Priddell
           13       would not testify at trial in any capacity and Mr. Diab claimed at a deposition on
           14       September 23 that
           15
           16                                  Nor are Plaintiffs’ FRCP violations substantially justified. For
           17       example, Plaintiffs’ only defense for why they did not file the full expert reports required
           18       under FRCP 26(a)(2)(B) for each individual is that a party’s employees who do not
           19       normally testify are never required to file such a report. Ex. 1 at 2. That is not the law
           20       in this Circuit, or even in the Circuit from which Plaintiffs’ lone authority issued.
           21             Plaintiffs’ latest attempt to require Apple to “‘scramble’” to respond to new
           22       theories, facts, and witnesses just five months before trial should be rejected. See Dkt.
           23       904 at 6.
           24                                         II.    BACKGROUND
           25             A.     Plaintiffs’ Damage Contentions
           26             On April 14, 2020, Apple served Plaintiffs with Interrogatory No. 17, which seeks
           27       “all factual and legal bases for [Plaintiffs’] contention that [y]ou are entitled to any relief
           28

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             1      in this case, including but not limited to, monetary damages … including, identifying
             2      and describing in detail all [d]ocuments and [c]ommunications relating to such
             3      contention and identifying all individuals having information about such contention.”
             4      Ex. 12 at 7. A year and half later, Apple moved to compel Plaintiffs to provide a
             5      meaningful articulation of the specific basis and amount of their damages claims,
             6      including the underlying facts and documents on which they relied. The Special Master
             7      agreed with Apple that Plaintiffs’ existing responses were deficient, noting in February
             8      2022 that Plaintiffs “ha[ve] not provided any information yet on whether ‘this is a $1
             9      case or a case worth billions.’” See Dkt. 617 at 5-6.
           10             Plaintiffs subsequently explained (on July 20, 2022) that their lost-profits case
           11       was based on theories that include, inter alia,
           12
           13                                                                   Plaintiffs similarly stated that
           14       Apple was unjustly enriched as a result of the purported misappropriation because it
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           16                                                   Id. at 25. Plaintiffs’ response to Interrogatory
           17       No. 17 does not provide any additional details
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           21             None of Plaintiffs’ responses to Interrogatory No. 17 listed Mr. Priddell as an
           22       individual with knowledge regarding their damages case. See generally Ex. 12. In fact,
           23       on July 14, 2022, Plaintiffs’ counsel represented to Apple that Mr. Priddell would not
           24       be testifying at trial. Specifically, in response to an inquiry from Apple in order to
           25       determine how it would allocate its limited deposition time, Plaintiffs’ counsel stated:
           26       “Our [past] email included a list of witnesses [that Plaintiffs] [do] not currently intend
           27       to take to trial[.] That list included Richard Priddell.” See Ex. 6 at 1.
           28

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             1            B.     Plaintiffs’ Contentions Regarding The Value Of Their Purported
             2                   Trade Secrets
             3            On December 9, 2020, Apple served Plaintiffs with Interrogatory No. 27, which
             4      seeks “[f]or each alleged Trade Secret that You contend was misappropriated by
             5      Apple, … the independent economic value of the alleged Trade Secret, and describe in
             6      detail [y]our calculation of this value.” Ex. 14 at 7. Despite Apple’s request for
             7      information regarding “each” purported trade secret, Plaintiffs provided information
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           10                                                                                            See
           11       generally Ex. 14. Plaintiffs’ explanation for why the purported
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           13                                                  Id. at 14-15; see also id. at 9, 25.
           14             Apple deposed both Mr. Kiani and Mr. Diab regarding the value of the
           15       purported trade secrets, in part because
           16                                                                    . See, e.g., Ex. 14 at 11-13,
           17       15-17, 19. During his deposition on September 23, 2022, Mr. Diab stated that
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           26             More broadly, Mr. Diab apparently made no effort to
           27                             before the deposition.
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             8            C.     Plaintiffs File Four “Expert Disclosures” Under FRCP 26(a)(2)(C)
             9            On September 23, 2022, the same day as Mr. Diab’s deposition, Plaintiffs served
           10       Apple with FRCP 26(a)(2)(C) disclosures for Mr. Priddell, Mr. Muhsin, Mr. Kiani, and
           11       Mr. Diab. See Ex. 2; Ex. 3; Ex. 4; Ex. 5. Each disclosure is short—all but Mr. Diab’s
           12       are well under 10 pages—and includes factual assertions that are new and/or entirely
           13       imaginary.
           14             For example, despite Mr. Diab’s
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           23             Similarly, Mr. Priddell’s and Mr. Muhsin’s disclosures discussed
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             1                                                                                              The
             2      subsequent 117-page report from Plaintiffs’ damages expert Jeff Kinrich
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             4
             5               On September 30, 2022, Apple informed Plaintiffs’ counsel that the disclosures
             6      did not comply with FRCP 26(a)(2) or 26(e), and requested that Plaintiffs either
             7      withdraw them or meet and confer so that Apple could file a motion with the Special
             8      Master. Ex. 7 at 1-2. Plaintiffs waited a week and finally responded late on Friday,
             9      October 7, agreeing to meet and confer on October 11. Ex. 8 (email); see also Ex. 1
           10       (accompanying letter).1 The parties met and conferred, but were unable to reach an
           11       agreement.
           12                On October 13, 2022, Apple submitted a letter brief to the Special Master, which
           13       requested that the Special Master strike the four FRCP 26(a)(2)(C) disclosures. Apple
           14       filed its motion based on the following language in the governing order: “[T]he Special
           15       Master’s duty is to decide pretrial discovery disputes,” including “disputes that would
           16       normally be addressed under Local Rule 37 and any motions relating to discovery under
           17       Fed. R. Civ. P. 26-37.” Dkt. 470 at ¶ 4. However, because Apple recognized that its
           18       motion could have implications for trial testimony, it noted in its cover email that Apple
           19       was “uncertain whether the attached motion falls within [the Special Master]’s purview,
           20       or whether Judge Selna should resolve it in the first instance given the motion relates to
           21       the scope of ‘expert’ evidence to be presented at trial.” Dkt. 947 at 1.2
           22                On October 14, 2022, the Special Master recommended that “this matter is best
           23       decided by Judge Selna in the first instance” and ordered the parties to “meet and confer
           24
           25       1
                     Plaintiffs’ (unexplained) delay violated the Order Appointing the Special Master,
                    which requires the parties to meet and confer within five business days of a request to
           26       do so. Dkt. 470 at ¶ 7.
           27       2
                     While the question of whether this motion should be submitted to this Court or the
                    Special Master was briefly discussed during the October 11 meet and confer, Plaintiffs
           28       declined to take a position on the issue.
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             1      regarding what, if any[,] modifications they might jointly and promptly seek from Judge
             2      Selna to applicable briefing procedures related to Apple’s” motion to strike. Dkt. 947
             3      at 1-2. The parties agreed to treat this motion as a noticed motion pursuant to the timing
             4      and length restrictions of Local Rules 6 and 7. See Ex. 15.
             5                                        III.   ARGUMENT
             6            A.     The Priddell, Muhsin, Kiani, and Diab Disclosures Violate The Federal
             7                   Rules Of Civil Procedure
             8                   1.     The Disclosures Violate FRCP 26(a)(2)
             9            FRCP 26(a)(2)(A) requires each party to “disclose to the other parties the identity
           10       of any [expert] witness it may use at trial.” The disclosure requirements differ depending
           11       on whether an individual will merely provide percipient witness testimony (in which
           12       case they need only submit a disclosure under FRCP 26(a)(2)(C)) or something more (in
           13       which case they must submit a full expert report under FRCP 26(a)(2)(B)).
           14             The “critical distinction” between an (a)(2)(B) witness and an (a)(2)(C) witness
           15       turns on “the nature of the testimony the expert will provide, and whether it is based
           16       only on percipient knowledge or on information reviewed in anticipation for trial.”
           17       Cantu v. United States, 2015 WL 12743881, at *5 (C.D. Cal. Apr. 6, 2015); accord
           18       Goodman v. Staples the Office Superstore, LLC, 644 F.3d 817, 819–820 (9th Cir. 2011).
           19       “[O]pinions developed at a later time or upon a hypothetical set of facts … [are]
           20       inadmissible opinion testimony” without an FRCP 26(a)(2)(B) report. Chaudhry v.
           21       Smith, 2020 WL 869115, at *21 (E.D. Cal. Feb. 21, 2020); see Miesen v. Hawley Troxell
           22       Ennis & Hawley LLP, 2021 WL 1124758 at *5 (D. Idaho Mar. 24, 2021) (FRCP
           23       26(a)(2)(B) reporting requirement “trigger[ed]” when witness “plans to offer expert
           24       opinion and testimony on matters that caused him to review extensive evidence beyond
           25       his personal knowledge of the case”). This case law disproves Plaintiffs’ assertion that
           26       an employee who does not regularly give expert testimony cannot fall under (a)(2)(B).
           27       Ex. 1 at 2. Even the lone (and out-of-circuit) authority Plaintiffs cite indicates the rule
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             1      is triggered if an employee is “specially employed to develop additional opinions for
             2      purposes of trial.” Downey v. Bob’s Disc. Furniture Holdings, Inc., 633 F.3d 1, 8 n.5
             3      (1st Cir. 2011); see Miesen, 2021 WL 1124758, at *5 (highlighting this statement in
             4      Downey).
             5            Here, all four disclosures extend beyond each witness’s percipient experience,
             6      “‘cross[ing] over the boundary to become the sort of expert’ who must provide a report
             7      under Rule 26(a)(2)(B).” Valvoline Instant Oil Franchising v. RFG Oil, Inc., 2015 WL
             8      13935285, at *9 (S.D. Cal. Jan. 16, 2015).
             9                          a. Priddell’s Disclosure
           10             Mr. Priddell’s disclosure is premised on a
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           20                                                                             The same member of
           21       Plaintiffs’ outside counsel team represented that Mr. Priddell’s
           22                                    (which was produced after the close of fact discovery) was
           23       “not an analysis that Masimo performs in the ordinary course of business” but “was done
           24       for this litigation as a part of expert discovery.” See Ex. 9 at 1; Ex. 2 at ¶¶ 16, 18 (citing
           25       MASA03583619); Frazier Decl. at ¶¶ 4-7. Mr. Priddell’s opinions on these topics are
           26       thus necessarily outside the scope of his percipient knowledge.
           27
           28

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             1                         b. Muhsin’s Disclosure
             2            Mr. Muhsin’s disclosure is also rooted in
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           10                                                                          And again, Plaintiffs’
           11       outside counsel confirms that the data that Mr. Muhsin relied upon was “not an analysis
           12       that Masimo performs in the ordinary course of business” but “was done for this
           13       litigation as a part of expert discovery.” Ex. 9 at 1; see also Frazier Decl. at ¶¶ 4-6, 8
           14       (noting Muhsin cites 14 documents produced after close of fact discovery).
           15                          c.     Kiani’s Disclosure
           16             Mr. Kiani’s disclosure speculates on a point that goes to the heart of Plaintiffs’
           17       trade secret claims—
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             1                         d. Diab’s Disclosure
             2            While a portion of Mr. Diab’s disclosure discusses
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             6                                     That Mr. Diab lacks percipient knowledge of the alleged
             7      trade secrets is underscored by the fact that he agreed
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           11                                               Mr. Diab’s non-responsiveness was particularly
           12       remarkable because
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           17             Tellingly, Plaintiffs devoted half of their October 7 correspondence with Apple
           18       to arguing that Mr. Diab was
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             1                   2.     The Disclosures Contain New Information In Violation Of
             2                          FRCP 26(e)
             3            Regardless of whether a witness falls under FRCP (a)(2)(B) or (a)(2)(C), he or
             4      she cannot rely on newly disclosed information raised for the first time after the close of
             5      fact discovery. See, e.g., MLC Intell. Prop., LLC v. Micron Tech., Inc., 2019 WL
             6      2863585, at *12-15 (N.D. Cal. July 2, 2019), aff’d, 10 F.4th 1358 (Fed. Cir. 2021)
             7      (excluding expert testimony based on evidence not disclosed during fact discovery);
             8      Texchem Advanced Prods. Inc. v. E.Pak Int’l Inc., 2013 WL 12114017, at *4 (C.D. Cal.
             9      Aug. 19, 2013) (excluding report that “relies on measurements not disclosed during fact
           10       discovery”). Here, each of the four disclosures at issue do precisely that and accordingly
           11       should be struck.
           12                           a.    Priddell’s Disclosure
           13             The bulk of Mr. Priddell’s disclosure analyzes
           14                                                         See Ex. 2 at ¶¶ 2-15 & Ex. A.
           15       Plaintiffs have never before
           16                                                                                            See
           17       id. Ex. A at 2. More broadly, before September 23, Plaintiffs offered no hint that Mr.
           18       Priddell had any relevance to damages. For example,
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           20                                                                                See generally
           21       Ex. 12. However, Plaintiffs’ damages expert, Jeff Kinrich, now relies directly on Mr.
           22       Priddell’s disclosure in purportedly
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             1            Plaintiffs’ response is that they identified
             2                                                                                       . Ex. 1 at
             3      1. But they do not deny that they failed to link Mr. Priddell to damages. Moreover,
             4      Plaintiffs’ counsel represented to Apple in July 2022—just one month later—that they
             5      did not intend to call Mr. Priddell at trial, see Ex. 6 at 1, leading Apple not to depose
             6      him during fact discovery. Plaintiffs never corrected that representation.
             7                          b.     Muhsin’s Disclosure
             8            Mr. Muhsin lists two “opinions” on which he intends to testify:
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           13                   Ex. 3 at 3.
           14             Notably, Plaintiffs’ response to Apple’s interrogatory asking them to “state in
           15       detail all factual and legal bases” for their damages case makes no mention of
           16                                  . See generally Ex. 12. Similarly, their response does not
           17       even use the phrase
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           19                                                 . See generally id.; see also supra p. 3.
           20       Rather, these details appear for the first time in Mr. Muhsin’s disclosure, as Plaintiffs’
           21       counsel necessarily conceded when he acknowledged that many of the underlying
           22       documents cited in Mr. Muhsin’s disclosure were produced after the close of fact
           23       discovery. See Ex. 3 at ¶¶ 2-26; see also Ex. 9; Frazier Decl. at ¶¶ 5-6, 8.
           24             Once again, Plaintiffs’ damages expert Mr. Kinrich’s calculations depend on
           25       new facts identified for the first time in Mr. Muhsin’s disclosure. For example, Mr.
           26       Kinrich relies on
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           10                                Troublingly, Mr. Kinrich also sources a number of his
           11       assumptions to a
           12                suggesting that there may be further facts undergirding Plaintiffs’ damages
           13       theory that do not even appear in Mr. Muhsin’s disclosure. See Ex. 13 at nn.189, 219,
           14       220, 224, 230, 236, 239, 240, 257, 260, 261, 262.
           15             Plaintiffs have argued that Apple should have known the details of their
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           18                                                                                         But
           19       such a generally worded statement is not comparable to the paragraphs of detail in Mr.
           20       Priddell’s and Mr. Muhsin’s disclosures. Plaintiffs’ vague language is all the more
           21       unjustified because the Special Master put Plaintiffs on notice earlier this year that
           22       their responses to Interrogatory No. 17 were insufficiently detailed. See Dkt. 617 at 5-
           23       6.
           24             Plaintiffs have also contended that Apple should have been on notice about the
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           27                                                                               Ex. 1 at 1-2. But
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             1      this argument misses the point—if the                                  was relevant to
             2      damages, it was required to be disclosed and discussed in response to Interrogatory No.
             3      17 so that Apple could prepare its damages case.
             4                           c.     Kiani’s Disclosure
             5             Mr. Kiani describes
             6                                                          Ex. 4 at 3. As to the former, Mr.
             7      Kiani states for the first time that
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           21                            d.     Diab’s Disclosure
           22              Mr. Diab’s analysis regarding
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             3               B.     The Proper Remedy For Plaintiffs’ Rule Violations Is To Strike The
             4                      Disclosures And Bar Priddell, Muhsin, Kiani, And Diab From
             5                      Offering Opinion Testimony
             6               FRCP 37(c)(1) sets forth an “‘automatic’ sanction that prohibits the use of”
             7      information or a witness when the party “‘fails to [timely] provide [that] information or
             8      identify a witness as required by Rule 26(a) and (e).’” Merchant v. Corizon Health,
             9      Inc., 993 F.3d 733, 740 (9th Cir. 2021). A court may “impose an exclusion sanction
           10       where a noncompliant party has failed to show that the discovery violation was either
           11       substantially justified or harmless.” Id. Plaintiffs cannot meet their burden on either
           12       front. They have provided no persuasive justification for why they treated the
           13       individuals at issue here as FRCP 26(a)(2)(C) witnesses, see supra pp. 7-8, or why
           14       they thought it appropriate to rely on new factual evidence that they were required to
           15       disclose months ago. Plaintiffs’ week-long silence when asked to meet and confer, see
           16       supra p. 6—an approach that violated the Order Appointing the Special Master, supra
           17       n.1—is another the indication that they have nothing meaningful to say.
           18                Nor can Plaintiffs reasonably argue that their errors were harmless. Their
           19       strategic decision to ignore their obligations under FRCP 26(a)(2)(B) and 26(e) leaves
           20       Apple without sufficient information “to properly depose that witness, select a rebuttal
           21       expert witness, and prepare for trial”—particularly given that trial is now just months
           22       away. Robinson v. HD Supply, Inc., 2013 WL 5817555, at *3 (E.D. Cal. Oct. 29,
           23       2013); see also Trulove v. D’Amico, 2018 WL 1090248, at *3 (N.D. Cal. Feb. 27,
           24       2018) (discovery error was not harmless where failure to provide FRCP 26(a)(2)(B)
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           26       3
                        The one exception is
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             1      reports “completely undercut the purposes of expert discovery”); Miesen, 2021 WL
             2      1124758, at *8 (discovery error was not harmless where inter alia it would “disrupt the
             3      trial schedule in an already very protracted case”). While Plaintiffs have suggested
             4      that Apple could conduct depositions of the four “experts,” this does not mitigate the
             5      prejudice caused by the failure to provide fulsome FRCP 26(a)(2)(B) reports or timely
             6      identify the information on which their “disclosures” now rely. Apple is entitled to “‘a
             7      complete disclosure of all opinions—not a sneak preview of a moving target.’”
             8      Alorica, Inc. v. Boston Consulting Grp. Inc., 2022 WL 1844113, at *3 (C.D. Cal. Feb.
             9      22, 2022).
           10             Plaintiffs’ actions are also troubling because they previously assured Apple that
           11       they did not intend to present Mr. Priddell at trial for any reason. Supra p. 3. As the
           12       Special Master has observed, neither side should be “permitted to walk back from its
           13       earlier agreements” simply because it is convenient to do so. Dkt. 905 at 8. Similarly,
           14       the detailed discussion in Mr. Diab’s disclosure
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           16                                             Supra pp. 4-5. This kind of “trial by ambush”
           17       approach should be rejected. Rodriguez v. Akima Infrastructure Servs., LLC, 2019 WL
           18       5212968, at *4 (N.D. Cal. Oct. 16, 2019).
           19                                       IV.    CONCLUSION
           20             Apple respectfully requests that the Court strike the purported FRCP 26(a)(2)(C)
           21       disclosures from Mr. Priddell, Mr. Muhsin, Mr. Kiani, and Mr. Diab.
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             1      Dated: October 18, 2022                Respectfully submitted,
             2
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